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                                                                                                              U.S. BANKRUPTCY COURT
                                                                                                           NORTHERN DISTRICT OF TEXAS


                                                                                                                  ENTERED
                                                                                                            TAWANA C. MARSHALL, CLERK
                                                                                                                  THE DATE OF ENTRY IS
                                                                                                              ON THE COURT'S DOCKET



The following constitutes the ruling of the court and has the force and effect therein described.



 Signed May 6, 2014
______________________________________________________________________



                                IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION

                                                )
     In re                                      ) Chapter 15
                                                )
     MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                                )
                Debtor in a Foreign Proceeding. )
                                                )

             ORDER GRANTING BAKER & MCKENZIE LLP’S MOTION TO WITHDRAW
                     AS COUNSEL TO THE FOREIGN REPRESENTATIVE

                 Upon the motion of Baker & McKenzie LLP, seeking authorization to withdraw as

     counsel to the Foreign Representative 1 [Dkt. No. 117]; and the Court having determined that the

     relief requested in the Motion is in the best interests of the Debtor, its estate, its creditors, and

     other parties in interest; and it appearing that proper and adequate notice of the Motion has been

     given and that no other or further notice is necessary; and upon the record herein; and after due

     deliberation thereon; and good and sufficient cause appearing therefor, it is hereby:




     1
         Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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ORDERED, ADJUDGED AND DECREED that:

          1.   The Motion is GRANTED.

          2.   Baker & McKenzie LLP is hereby withdrawn as counsel to the Foreign

Representative.

          3.   The Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order.

                                  # # # END OF ORDER # # #

Prepared and submitted by:

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